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 1   MAKAREM & ASSOCIATES APLC
     Ronald W. Makarem, Esq. (SB#180442 )
 2   Samuel D. Almon, Esq. (SB# 243569)
     11601 Wilshire Boulevard, Suite 2440
 3   Los Angeles, California 90025-1760
     Phone: (310) 312-0299; Fax: (310) 312-0296
 4
     Attorneys for Plaintiffs FRANK J. FODERA, JR
 5
     MICHAEL M. BONELLA, and GENEVIEVE BILLSON
 6   individually and on behalf of all others similarly situated.

 7
                                   UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9

10
     FRANK J. FODERA, JR. and MICHAEL M.               Case No. 3:19-cv-05072-WHO
11   BONELLA, individually and on behalf of all
     others similarly situated,                        CLASS ACTION
12
                    Plaintiffs,                        THIRD AMENDED CLASS ACTION
13
            vs.                                        COMPLAINT FOR:
14
     EQUINOX HOLDINGS, INC., a Delaware                     (1) Failure to Pay Minimum Wage;
15   corporation; and DOES 1-50, inclusive,                 (2) Failure to Pay Overtime Wages;
                                                            (3) Failure To Provide Meal Periods;
16                  Defendants.                             (4) Failure To Provide Rest Periods;
                                                            (5) Failure To Pay for Rest and Recovery
17
                                                                Periods;
18                                                          (6) Failure to Furnish Accurate Wage
                                                                Statements;
19                                                          (7) Failure to Pay Earned Wages Upon
                                                                Termination;
20                                                          (8) Unfair Competition in Violation of
                                                                Business and Professions Code Section
21
                                                                17200
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                                                                  [JURY TRIAL DEMANDED]
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 1
            Plaintiffs FRANK J. FODERA, GENEVIEVE BILLSON, and MICHAEL M. BONELLA
 2
     (“Plaintiffs”), individually and on behalf of all similarly situated individuals, hereby complain
 3
     and allege as follows:
 4
                                             INTRODUCTION
 5
            1.     This case arises out of the failure of Defendants EQUINOX HOLDINGS, INC.
 6
     (“Equinox Holdings”) and Does 1-50 (together with Equinox Holdings, “Defendants”) to pay
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     minimum wage to non-exempt employees, failure to pay all overtime hours earned, failure to
 8
     provide compliant meal and rest periods, failure to pay for separate rest and recovery periods in
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     connection with piece-rate work, failure to furnish accurate wage statements, and failure to pay all
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     wages owed at the time of termination, among other things.
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            2.     Plaintiffs and all other similarly situated individuals (collectively, the “Class” or
12
     “Class Members”) were employed by Defendants during the four years preceding the filing of this
13
     action, and continued while this action was pending (the “Class Period”), and were denied the
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     benefits and protections required under the California Labor Code and other statutes and
15
     regulations applicable to employees in the State of California.
16
            3.     Plaintiffs and Class Members allege that Defendants (1) failed to pay Plaintiffs and
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     Class Members required minimum wages; (2) failed to pay Plaintiffs and Class Members required
18
     overtime wages; (3) failed to provide Plaintiffs and Class Members with compliant meal periods
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     and failed to pay one hour of pay at Class Members’ regular rate of compensation for each workday
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     that a compliant meal period was not provided; (4) failed to authorize and permit compliant rest
21
     periods and failed to pay one hour of pay at Plaintiffs’ and Class Members’ regular rate of
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     compensation for each workday that a compliant rest period was not authorized and permitted; (5)
23
     failed to pay Plaintiffs and Class Members for rest and recovery periods separately from, and in
24
     addition to, their piece-rate pay for piece-rate work performed pursuant to Labor Code § 226.2; (6)
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     failed to furnish Plaintiffs and Class Members with complete and accurate wage statements; (7)
26
     failed to pay Plaintiff Bonella and Class Members all earned wages after their employment ended
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     in violation of Labor Code §§ 201 and/or 202; and (8) violated California’s Unfair Business
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     Practices Act, California Business & Professions Code §§ 17200, et seq.
 3
             4.     Plaintiffs and Class Members, pursuant to Business & Professions Code §§ 17200-
 4
     17208, also seek injunctive relief, restitution, and disgorgement of all benefits Defendants enjoyed
 5
     from their failure to pay proper compensation.
 6
                                      JURISDICTION AND VENUE
 7
             5.     This action was originally filed in Alameda County Superior Court, which has
 8
     jurisdiction over this action pursuant to Code of Civil Procedure § 410.10.              Defendants
 9
     subsequently removed the action to this Court. The action is brought pursuant to Code of Civil
10
     Procedure § 382 and Civil Code § 1781 et seq. Plaintiffs bring this action on their own behalf, and
11
     on behalf of all persons within the Class as hereinafter defined.
12
             6.     Venue of this action in the County of Alameda is proper pursuant to Code of Civil
13
     Procedure §§ 395(a) and 395.5, in that many of the wrongful acts complained of herein occurred
14
     in Alameda County, and Defendants are found, maintain offices in, and/or transact business in
15
     Alameda County.
16
                                              THE PARTIES
17
             7.     Plaintiff MICHAEL M. BONELLA (“Bonella”) is a resident of San Francisco
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     County, California, and was employed by Defendants in San Francisco County and San Diego
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     County, California as a non-exempt employee within the last four years preceding the filing of this
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     action. Bonella is a former employee of Defendants, and was employed by Defendants as a
21
     personal trainer and as a group fitness instructor in California within the last four years preceding
22
     the filing of this action.
23
             8.     Plaintiff FRANK J. FODERA, JR. (“Fodera”) is a resident of Los Angeles County,
24
     California, and was employed by Defendants in Los Angeles County, California, as a non-exempt
25
     employee within the last four years preceding the filing of this action. Fodera is employed by
26
     Defendants as a group fitness instructor in California, and within the four last four years preceding
27
     the filing of this action, Fodera was employed by Defendants as a personal trainer in California.
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 1
            9.     Plaintiff GENEVIEVE BILLSON (“Billson”) is a resident of Los Angeles County,
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     California, and was employed by Defendants in Los Angeles County, California, as a non-exempt
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     employee within the last four years preceding the filing of this action. Billson was employed by
 4
     Defendants as a pilates instructor and group fitness instructor in California, and within the four
 5
     years preceding the filing of this Action.
 6
            10.    Plaintiffs are informed and believe, and thereon allege, that EQUINOX HOLDINGS,
 7
     INC. is and at all times relevant hereto was a Delaware corporation doing business in Alameda
 8
     County, California and other counties in the State of California.
 9
            11.    The true names and capacities of Defendants Does 1 through 50, inclusive, and each
10
     of them, are unknown to Plaintiffs, who sue said defendants by such fictitious names. Plaintiffs are
11
     informed and believe and thereon allege that each of the defendants fictitiously named herein is
12
     legally responsible in some actionable manner for the events described herein, and thereby
13
     proximately caused the damage to Plaintiffs and the members of the Class. Plaintiffs will seek leave
14
     of Court to amend this Complaint to state the true name(s) and capacities of such fictitiously named
15
     defendants when the same have been ascertained.
16
            12.    Plaintiffs are informed and believe and thereon allege that at all times relevant herein,
17
     each defendant aided and abetted, and acted in concert with and/or conspired with each and every
18
     other defendant to commit the acts complained of herein and to engage in a course of conduct and
19
     the business practices complained of herein.
20
            13.    Defendants, including Does 1 through 50, inclusive, are now, and/or at all times
21
     mentioned in this Complaint were, the affiliates of some or all other Defendants, and vice-versa, and
22
     in doing the thing alleged in this Complaint, Defendants were directly or indirectly controlling,
23
     controlled by or under common control with such other Defendants.
24
            14.    Defendants, including Does 1 through 50, inclusive, are now, and/or at all times
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     mentioned in this Complaint were, the agents, servants and/or employees of some or all other
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     Defendants, and vice-versa, and in doing the things alleged in this Complaint, Defendants are now
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     and/or at all times mentioned in this Complaint were acting within the course and scope of that
 2
     agency, servitude and/or employment.
 3
             15.     Defendants, including Does 1 through 50, inclusive, are now, and/or at all times
 4
     mentioned in this Complaint were, members of, and/or engaged in, a joint venture, partnership and
 5
     common enterprise, and acting within the course and scope of, and in pursuance of said joint venture,
 6
     partnership and common enterprise.
 7
             16.     Defendants, including Does 1 through 50, inclusive, at all times mentioned in this
 8
     Complaint approved of, condoned and/or otherwise ratified each and every one of the acts and/or
 9
     omissions alleged in this Complaint.
10
                                         FACTUAL ALLEGATIONS
11
             17.     This is a class action pursuant to Section 382 of the California Code of Civil Procedure
12
     to vindicate rights afforded to the class by California labor law. This action is brought on behalf of
13
     Plaintiffs and all similarly situated current and former employees who worked for Defendants as
14
     non-exempt employees within the State of California within the four years preceding the filing of
15
     this lawsuit.
16
             18.     On information and belief, Defendants are in the business of, among other things,
17
     owning and operating luxury health clubs throughout California. According to Defendants’ website,
18
     Defendants currently have approximately 32 locations in California, including in Alameda County,
19
     and news outlets have reported on additional locations planned in San Francisco, Los Angeles, and
20
     San Diego County.
21
             19.     Defendants employ group fitness instructors, pilates instructors, and personal trainers
22
     at their health clubs, including in Alameda County, as non-exempt employees. Defendants also
23
     employ individuals in other non-exempt positions such as, by way of example only, membership
24
     sales, spa therapists/estheticians, maintenance, retail shop, front desk, and administrative.
25
             20.     During Plaintiffs’ and Class Members’ entire employment with Defendants, Plaintiffs
26
     and Class Members were not exempt from the Employment Laws and Regulations, and Defendants
27
     treated Plaintiffs and Class Members as non-exempt employees. Plaintiffs and Class Members
28
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     primarily engaged in non-exempt duties delegated to non-exempt employees such as, for example,
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     performing personal training sessions, performing pilates sessions, teaching group fitness classes,
 3
     cleaning and straightening up the facilities during “floor shifts,” preparing client exercise programs,
 4
     communicating with clients outside of personal training sessions, and attending mandatory meetings
 5
     and trainings.
 6
            21.       During Plaintiffs’ and Class Members’ entire employment with Defendants, Plaintiffs
 7
     and Class Members spent few to none of their working hours performing work which was primarily
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     intellectual, managerial or creative, or which required the regular and customary exercise of
 9
     discretion and independent judgment with respect to matters of significance on more than an
10
     occasional basis.
11
            22.       On information and belief, Plaintiffs and Class Members often worked more than 40
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     hours in a workweek and more than 8 hours in a workday. As just one example, to the best of his
13
     recollection, Bonella worked more than 40 hours during the week of January 15-21, 2018, and
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     worked more than 8 hours on some or all days that week, but he was not paid overtime compensation
15
     for all of the overtime hours he worked. Additionally, by way of example only, in January 2018,
16
     Bonella also worked seven days in a row more than once, but was not paid all overtime
17
     compensation he was owed. Similarly, to the best of his recollection, and by way of example only,
18
     during the weeks of June 18-24, 2017, June 25-July 1, 2017, and July 2-8, 2017, Fodera worked
19
     more than 40 hours and worked more than 8 hours on at least some days those weeks, but he was
20
     not paid overtime compensation for all of the overtime hours he worked. Additionally, by way of
21
     example only, to the best of his recollection, Fodera worked twelve days in a row from May 15-16,
22
     2017, and worked eight days in a row from June 17-24, 2017, but was not paid all overtime
23
     compensation he was owed. To the best of her recollection, and by way of example only, Billson
24
     worked seven days in a row during the summer of 2016. During their employment, Plaintiffs and
25
     Class Members suffered damages for the wage and hour violations committed by Defendants
26
     described below.
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 1
             23.   During Plaintiffs’ and Class Members’ entire employment with Defendants,
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     Defendants’ policies provided that Plaintiffs and Class Members were to be paid at an hourly rate
 3
     for time that they were clocked in while performing certain tasks, such as, for example, personal
 4
     training sessions, pilates sessions, teaching group fitness classes, cleaning and straightening up the
 5
     facilities during “floor shifts” and attending mandatory meetings and trainings.
 6
             24.   Defendants’ policies also provided that Plaintiffs and Class Members were to be paid
 7
     on a piece-rate basis for certain tasks. Under Defendants’ piece-rate compensation policies,
 8
     Plaintiffs and Class Members were to be paid a fixed sum each time they completed a particular
 9
     task, such as, for example, performing a personal training session, performing a pilates session, or
10
     teaching a group fitness class.
11
             25.   Defendants also regularly suffered or permitted Plaintiffs and Class Members to
12
     perform a wide range of unpaid, off-the-clock work. Some of this off-the-clock work consisted of
13
     tasks which Defendants referred to as “session related activities.” “Session related activities”
14
     included, for example, interacting with clients outside of personal training, pilates, and group fitness
15
     sessions, creating calendars, and preparing client programs. “Session related activities” included
16
     tasks that were not directly related to performing a personal training, pilates, or group fitness session.
17
             26.   During Plaintiffs’ and Class Members’ entire employment with Defendants,
18
     Defendants also regularly suffered or permitted Plaintiffs and Class Members to perform other work
19
     off the clock that was not designated “session related activities.” For example, Defendants regularly
20
     required Plaintiffs and Class Members, while not clocked in, to perform work including, without
21
     limitation, manually scheduling work-related meetings, corresponding with supervisors, and
22
     contacting prospective customers. Defendants did not advise Plaintiffs and Class Members that they
23
     should only perform these activities while clocked in. Defendants did not pay Plaintiffs or Class
24
     Members for time spent performing off-the-clock work.               For example, while working for
25
     Defendants, Bonella, Billson and Fodera all were required to spend time while not clocked in
26
     contacting individuals whom Equinox had identified as prospective customers, or “leads.” This
27
     consisted of, among other things, making “cold calls” and sending emails to leads while off the
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 1
     clock. As another example, Bonella’s, Billson’s and Fodera’s supervisors often contacted them
 2
     outside of work hours, including by email or text message, requiring Bonella, Billson and Fodera to
 3
     spend off-the-clock time reading their supervisors’ emails or texts. Their supervisors often expected
 4
     prompt responses, requiring further off-the-clock work. Indeed, to the best of their understanding
 5
     and recollection, Bonella, Billson and Fodera were not permitted to clock in for the purposes of
 6
     reading and responding to their supervisors’ emails or texts. Defendants knew that Bonella, Billson
 7
     and Fodera were not clocked in when these emails or texts were sent, because, among other reasons,
 8
     they had access to Bonella’s, Billson’s and Fodera’s calendars. Moreover, upon receiving responses
 9
     from Bonella, Billson and Fodera, they knew that Bonella, Billson and Fodera were responding
10
     while off the clock.
11
            27.    Although Defendants suffered or permitted Plaintiffs and Class Members to work off
12
     the clock, including, without limitation, by performing “session related activities” and other off-the-
13
     clock work, Defendants neither compensated Plaintiffs and Class Members for such work nor
14
     counted those hours for purposes of calculating overtime. As just one example, to the best of his
15
     recollection, with Defendants’ knowledge, Bonella performed off-the-clock work, including
16
     programming (preparing client exercise programs), without compensation, during the week of
17
     January 15-21, 2018. As another example, to the best of his recollection, Fodera performed off-the-
18
     clock work, including programming, during the weeks of June 18-24, 2017, June 25-July 1, 2017,
19
     July 2-8, 2017, and November 11-17, 2018. As a pilates instructor, Billson performed off-the-clock
20
     work without compensation, including preparing client program notes after each pilates session that
21
     she taught, as pilates instructors were required by Equinox policy to prepare such notes after
22
     completing the session. However, because Billson had to attend to her clients during pilates
23
     sessions, she frequently was unable to prepare the notes until after the session ended and she had
24
     clocked out. To the best of her recollection, and by way of example only, Billson worked off the
25
     clock preparing program notes the week of January 5-11, 2020. As another example, to the best of
26
     her recollection, Billson worked off the clock contacting leads the week of January 5-11, 2020.
27

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 1
            28.    Instead of paying Plaintiffs and Class Members for each hour worked, Defendants’
 2
     stated policy was to engage in wage averaging, whereby Defendants purported to determine whether
 3
     the piece-rate compensation paid, divided by the time spent performing the session plus the time
 4
     spent performing unpaid “session related activities”, resulted in an average hourly rate of at least
 5
     minimum wage.
 6
            29.    In practice, Defendants discouraged and/or prohibited Plaintiffs and Class Members
 7
     from recording all time they worked performing session related activities and other off-the-clock
 8
     work. For example, Defendants’ Personal Trainer Compensation Plan states that personal trainers
 9
     “should spend no more than two to three (2-3) hours per week on session related activities,” and that
10
     a personal trainer must speak with management if they “feel [they] need to spend more than two to
11
     three hours per week” on programming. There are similar requirements for pilates instructors.
12
     Defendants required Plaintiffs and Class Members to perform programming for each of their
13
     personal training or pilates clients, and required group fitness instructors to perform programming
14
     for their group fitness classes. In practice, Fodera and Bonella found that it was not possible to
15
     perform all of the programming that Defendants required within the allotted 2-3 hours per week—
16
     and that is without considering other so-called “session related activities,” such as corresponding
17
     with clients. Billson also found that it was not possible to complete all session related activities
18
     within the allotted time. Yet Fodera was told by a manager or supervisor not to record any time
19
     spent on session related activities, including programming, above two hours per week. As another
20
     example, during the time Bonella was working at Defendants’ Pine Street location in San Francisco,
21
     on at least one occasion he recorded his time spent programming and a manager or supervisor told
22
     him to stop doing so. Consequently, Defendants’ records did not reflect all hours worked by
23
     Plaintiffs and Class Members.
24
            30.    During Plaintiffs’ and Class Members’ entire employment with Defendants, under
25
     Defendants’ compensation policies, Plaintiffs and Class Members were entitled to receive certain
26
     non-discretionary bonuses if they met certain objective criteria. Defendants repeatedly failed to pay
27
     earned non-discretionary bonuses when due.
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 1
            31.    Defendants also repeatedly failed to pay Plaintiffs and Class Members, among other
 2
     things, all piece-rate pay earned. For example, Defendants failed to pay Plaintiffs and Class
 3
     Members for all personal training sessions and group fitness classes performed in the applicable pay
 4
     period. For example, Fodera recalls several times when one or more personal training sessions were
 5
     not reflected on his paychecks, and he had to contact management to request payment for the missing
 6
     sessions, which were paid to him belatedly; because this happened periodically, and the missing
 7
     sessions were paid (belatedly) only after he caught the error and specifically requested payment,
 8
     Fodera believes that there were other occasions when his paycheck did not reflect all piece-rate pay
 9
     earned and he was never paid the omitted piece-rate pay because he did not detect the omission.
10
            32.    Defendants did not pay Plaintiffs and Class Members all overtime compensation
11
     earned. For example, Defendants did not consider Plaintiffs’ and Class Members’ off-the-clock
12
     work when calculating overtime wages, resulting in Plaintiffs and Class Members not being paid all
13
     overtime wages due. For example, to the best of his recollection, Bonella worked more than 40
14
     hours the week of January 15-21, 2018, and worked more than 8 hours on some or all days that
15
     week, including client programing and other work performed off the clock. As another example, to
16
     the best of his recollection, and by way of example only, during the weeks of June 18-24, 2017, June
17
     25-July 1, 2017, and July 2-8, 2017, Fodera worked more than 40 hours and worked more than 8
18
     hours on at least some days those weeks, including client programing and other work performed off
19
     the clock. To the best of her recollection, and by way of example only, Billson worked seven days
20
     in a row during the summer of 2016. But Equinox did not pay Fodera, Billson or Bonella overtime
21
     wages (or any wages) for off-the-clock work performed in excess of 40 hours, or 8 hours in a day,
22
     or on the seventh consecutive day, during those weeks, and did not include off-the-clock work in
23
     calculating whether Fodera, Billson or Bonella worked overtime those weeks. As another example,
24
     upon information and belief, in calculating overtime wages, Defendants failed to consider all non-
25
     discretionary bonuses earned by Plaintiffs and Class Members, including, among other reasons,
26
     because Defendants failed to pay all earned non-discretionary bonuses when due and failed to
27
     include them in Plaintiff’s and Class Members’ pay checks and wage statements.
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 1
             33.   Defendants failed to pay Plaintiffs and Class Members minimum wage for all hours
 2
     worked, including uncompensated off-the-clock work which Defendants suffered or permitted
 3
     Plaintiffs and Class Members to perform. For example, Bonella, Billson and Fodera frequently
 4
     performed uncompensated off-the-clock work, for which they were not paid minimum wage. As
 5
     one example, to the best of his recollection, Bonella performed off-the-clock work, for which he
 6
     was not paid minimum wage, the week of January 15-21, 2018. As another example, Fodera
 7
     performed off-the-clock work, for which he was not paid minimum wage, the week of June 18-24,
 8
     2017. As another example, Fodera performed off-the-clock work, for which he was not paid
 9
     minimum wage, the week of November 11-17, 2018. As another example, to the best of her
10
     recollection, Billson performed off-the-clock work, for which she was not paid, the week of January
11
     5-11, 2020.
12
             34.   Defendants did not provide Plaintiffs or Class Members with compliant and timely
13
     thirty-minute meal periods. For example, Defendants regularly failed to provide meal periods until
14
     after Plaintiffs and Class Members had completed a work period of more than five hours. For
15
     example, Plaintiffs are informed and believe that until approximately April 2018, Defendants’ stated
16
     policy permitted Plaintiffs and Class Members to work five hours in a row without a meal break;
17
     additionally, Defendants’ employee handbook permitted Plaintiffs and Class Members to clock in
18
     up to five minutes before their starting time and up to five minutes after their shift ended; as a result,
19
     Defendants’ policies permitted Plaintiffs and Class Members to work more than five hours in a row
20
     without a meal break, and Plaintiffs and Class Members commonly did so. As one example, to the
21
     best of his recollection, Bonella worked more than five hours in a row without receiving a meal
22
     break during the week of January 15-21, 2018. As another example, to the best of his recollection,
23
     Fodera worked more than five hours in a row without receiving a meal break during the week of
24
     June 25-July 1, 2017. Similarly, to the best of her recollection, and by way of example only, Billson
25
     worked more than five hours in a row without receive a meal break during mid to late 2018. As
26
     another example, Plaintiffs and Class Members were regularly required to take meal periods of less
27
     than 30 minutes in order to timely return to their job duties, such as, for example, to avoid being late
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 1
     for their next training session. For example, Plaintiffs and Class Members would have to return to
 2
     work a few minutes before a full 30 minutes break time had elapsed between sessions or group
 3
     fitness classes, because Defendants required personal training and pilates sessions and group fitness
 4
     classes to be scheduled exactly on the hour, quarter hour, or half hour. Therefore, when scheduled
 5
     for a 30 minute meal break between personal training sessions, pilates sessions, or group fitness
 6
     classes, Plaintiffs and Class Members would have to begin walking back to the location of their next
 7
     personal training session or group fitness class before a full 30 minutes of break time had elapsed,
 8
     or else they would be late to their next session or class; therefore, when Plaintiffs and Class Members
 9
     did receive meal breaks, those breaks were often less than 30 minutes.
10
            35.    If an employer fails to provide an employee with compliant and timely thirty-minute
11
     meal periods, the employer must pay the employee a premium payment of one hour of pay at the
12
     employee’s regular rate of compensation for each workday that the meal period is not provided. Yet
13
     Defendants failed to pay Plaintiffs and Class Members premium payments for each missed or non-
14
     compliant meal period. For example, to the best of his recollection, Bonella worked more than five
15
     hours in a row without receiving a meal break during the week of January 15-21, 2018, yet he did
16
     not receive a meal break premium.       As another example, to the best of his recollection, Fodera
17
     worked more than five hours in a row without receiving a meal break during the week of June 25-
18
     July 1, 2017, yet he did not receive a meal break premium. Similarly, to the best of her recollection,
19
     and by way of example only, Billson worked more than five hours in a row without receive a meal
20
     break during mid to late 2018.
21
            36.    Defendants did not authorize or permit Plaintiffs or Class Members to take compliant
22
     and timely ten-minute rest periods. For example, Plaintiffs and Class Members regularly worked
23
     four hours or more continuously without a paid ten-minute rest break. As another example, Plaintiffs
24
     and Class Members regularly worked between two and four hours continuously without a paid ten-
25
     minute rest break, on days in which they worked three and one-half hours or more.
26
            37.    Defendants failed to pay Plaintiffs and Class Members premium payments for each
27
     shift with a missed or non-compliant rest periods. For example, to the best of his recollection,
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 1
     Bonella worked four hours or more continuously without receiving a ten-minute rest period during
 2
     the week of January 15-21, 2018, yet he did not receive a rest break premium. As another example,
 3
     to the best of his recollection, Fodera worked four hours or more continuously without receiving a
 4
     ten-minute rest period during the week of June 25-July 1, 2017, yet he did not receive a rest break
 5
     premium. As another example, to the best of her recollection, Billson worked four hours or more
 6
     continuously without receiving a ten-minute rest period during the week of October 7-13, 2018, yet
 7
     she did not receive a rest break premium.
 8
            38.    With respect to work that Plaintiffs and Class Members performed on a piece-rate
 9
     basis, Defendants failed to compensate Plaintiffs and Class Members for rest and recovery periods
10
     separate from any piece-rate compensation, and failed to calculate such compensation as required
11
     under Labor Code § 226.2(a)(3). For example, Defendants compensated Plaintiffs and Class
12
     Members on a piece-rate basis for tasks including, for instance personal training sessions, but did
13
     not pay Plaintiffs and Class Members for rest and recovery periods or other time spent not
14
     performing piece-rate tasks at the regular hourly rate required by Labor Code Section 226.2. That
15
     is, not only should Plaintiffs and Class Members have received required ten-minute rest breaks when
16
     they continuously worked four hours, or a major fraction thereof, performing piece-rate work, but
17
     Defendants were required to pay Plaintiffs and Class Members during those rest breaks at the regular
18
     hourly rate as calculated pursuant to § 226.2. To the best of Fodera’s, Billson’s and Bonella’s
19
     recollection, Defendants never provided them with a paid ten-minute rest break when they
20
     continuously worked four hours, or a major fraction thereof, and therefore never paid them at the
21
     regular rate required by § 226.2 during those non-existent rest breaks.
22
            39.    As a result of these violations, Defendants also failed to provide complete and accurate
23
     wage statements and failed to pay Plaintiffs and Class Members all amounts owed upon termination
24
     of employment. Defendants also thereby violated California’s Unfair Business Practices Act,
25
     California Business & Professions Code §§ 17200.
26
            40.    Wage statements issued by Defendants to the Class Members fail to accurately reflect
27
     the total hours worked and all applicable hourly rates and the corresponding number of hours worked
28
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 1
     at each hourly rate for each pay period in which a Class member both worked overtime and earned
 2
     non-discretionary, non-hourly pay such as piece rate, commissions, or bonuses. In such pay periods,
 3
     Defendants’ wage statements split the overtime pay into multiple lines, including one or more line
 4
     labeled “Overtime” and one line labeled “Overtime Prem.” Defendants’ wage statements state the
 5
     number of overtime hours next to both the “Overtime” and the “Overtime Prem” lines. As a result,
 6
     the wage statements double count the overtime hours, and do not accurately state the applicable
 7
     overtime rate. By way of example, Bonella’s wage statement for the pay period ended May 12, 2018
 8
     contained the pay code “Overtime Prem” and double counted his overtime hours.
 9
            41.    Wage statements issued by Defendants to the Class Members fail to accurately reflect
10
     the total hours worked for each pay period in which the wage statement contained any of the
11
     following codes or pay types: Break Premium, CanXNo show, PT Ses Cancel, Pilates No Show, CA
12
     Rest Break. For each of these pay types, Defendants’ wage statements list time in the “hours”
13
     column that does not reflect actual time worked, but is merely a placeholder to identify the amount
14
     of pay issued to the employee. Yet Defendants’ wage statements include that placeholder time in
15
     the calculation of total hours worked. As a result, on all of Defendants’ wage statements on which
16
     these pay codes or types appear, the wage statements fail to accurately reflect the total hours worked
17
     by the employee in the pay period. By way of example, Billson’s wage statement for the pay period
18
     ended January 19, 2019 contained the pay codes CA Rest Break, Break Premium, and Pilates No
19
     Show and failed to accurately reflect her total hours worked in that pay period. As another example,
20
     Bonella’s wage statement for the pay period ended May 12, 2018 contained the pay code PT Ses
21
     Cancel and failed to accurately reflect his total hours worked in that pay period. As another example,
22
     Fodera’s wage statement for the pay period ended February 16, 2019 contained the pay codes CA
23
     Rest Break, CanXNo Show, and PT Ses Cancel and failed to accurately reflect his total hours worked
24
     in that pay period.
25
            42.    Plaintiffs seek attorneys’ fees pursuant to California Labor Code section 218.5 and
26
     any other applicable sections.
27

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 1
            43.    Plaintiffs also seek restitution and disgorgement of all sums wrongfully obtained by
 2
     Defendants through unfair business practices in violation of California Business & Professions Code
 3
     section 17200, et seq., to prevent the Defendants from benefiting from their unlawful, fraudulent
 4
     and unfair acts. Such sums recovered under the Unfair Competition Act and Unfair Businesses Act
 5
     are equitable in nature and are not to be considered damages. Plaintiffs are also entitled to costs,
 6
     attorneys’ fees, interest and penalties as provided for by the Labor Code, the Business & Professions
 7
     Code and Code of Civil Procedure §1021.5.
 8
                                    CLASS ACTION ALLEGATIONS
 9
            44.    Plaintiffs bring this action on behalf of themselves and all other similarly situated
10
     persons as a class action pursuant to Code of Civil Procedure Section 382. The Classes Plaintiffs
11
     seek to represent are composed of and defined as follows:
12

13                 Class A: All current and former non-exempt employees employed by

14                 any Defendant in California as personal trainers, or in any other similar

15                 capacity, at any time during the four-year period preceding the filing of

16                 this action through the present.

17
                   Class B: All current and former non-exempt employees employed by
18
                   any Defendant in California as group fitness instructors, or in any other
19
                   similar capacity, at any time during the four-year period preceding the
20
                   filing of this action through the present.
21

22                 Class C: All current and former non-exempt employees employed by

23                 any Defendant in California as a pilates instructor, or in any other

24                 similar capacity, at any time during the four-year period preceding the

25                 filing of this action through the present

26
                   Class D: All current and former non-exempt employees employed by
27
                   any Defendant in California in a non-exempt position and who received
28
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 1
                   a wage statement containing one or more of the following pay
 2
                   codes/types at any time during the one-year period preceding the filing
 3
                   of this action through the present: Overtime Prem; CA Rest Break; PT
 4
                   Ses Cancel; CanXNo show; Pilates No Show.
 5

 6                 Class E: All current and former non-exempt employees employed by

 7                 any Defendant in California in a non-exempt position and who received

 8                 meal period and/or rest period premium pay at any time during the one-

 9                 year period preceding the filing of this action through the present.

10
            45.    This action has been brought and may be maintained as a class action pursuant to Code
11
     of Civil Procedure Section 382 because there is a well-defined community of interest among many
12
     persons who comprise a readily ascertainable class.
13
            46.    Numerosity and Ascertainability (C.C.P. § 382): The potential number of Class
14
     Members as defined is so numerous that joinder of all members would be infeasible and impractical.
15
     The disposition of their claims through this class action will benefit both the parties and this Court.
16
     The number of putative Class Members is unknown at this time, however, it is estimated that the
17
     Class will number greater than 100. The identity of such membership can be readily ascertained
18
     from Defendants’ employment records.
19
            47.    Superiority (C.C.P. § 382): The nature of this action and the nature of laws available
20
     to Plaintiffs make the use of the class action format particularly efficient and appropriate. By
21
     establishing a technique whereby the claims of many individuals can be resolved at the same time,
22
     the class suit both eliminates the possibility of repetitious litigation and provides small claimants
23
     with a method of obtaining redress for claims which would otherwise be too small to warrant
24
     individual litigation. Class action treatment will allow a large number of similarly situated persons
25
     to prosecute their common claims in a single forum, simultaneously, efficiently, and without the
26
     unnecessary duplication of effort and expense that numerous individual actions would require. The
27
     actual monetary recovery due to most of the individual Class Members is likely to be small, and the
28
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 1
     burden and expense of individual litigation would make it prohibitive for individual Class Members
 2
     to seek relief. A class action will serve an important public interest by permitting such individuals
 3
     to effectively pursue recovery of the sums owed to them. Further, class litigation prevents the
 4
     potential for inconsistent or contradictory judgments if individual Class Members were to litigate
 5
     separately.
 6
            48.    Well-defined Community of Interest: Plaintiffs also meet the three factors for
 7
     establishing a community of interest: (1) predominant common questions of law or fact; (2) a class
 8
     representative with claims or defenses typical of the class; and (3) a class representative who can
 9
     adequately represent the class, (see, e.g. Lockheed Martin Corp. v. Superior Court (2003) 29 Cal.4th
10
     1096), as follows:
11
            49.    Predominant Questions of Law or Fact: There are common questions of law and/or
12
     fact as to the members of the Class which predominate over questions affecting only individual
13
     members of the Class, including, without limitation:
14
                   a. Whether Defendants violated Labor Code Section 1194 by not paying Class
15
                      Members the legal minimum wage for all hours worked;
16
                   b. Whether Defendants violated Labor Code Sections 510 and 1194 by not properly
17
                      paying overtime wages to Class Members for all hours worked in excess of eight
18
                      hours in one day, in excess of 40 hours in one workweek, and in during the first
19
                      eight hours on the seventh day of work in one workweek, and by failing to pay
20
                      Class Members their overtime wages a the required double time rate for hours
21
                      worked in excess of 12 hours a day and in excess of eight hours on the seventh
22
                      day of a workweek;
23
                   c. Whether Defendants violated Labor Code Section 512 by not providing Class
24
                      Members with compliant meal periods;
25
                   d. Whether Defendants violated Labor Code Section 512 by not authorizing and
26
                      permitting Class Members to take compliant rest periods;
27

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 1
             e. Whether Defendants violated Labor Code Section 226.7 by not paying Class
 2
                  Members additional pay for shifts when Class Members did not receive compliant
 3
                  meal or rest periods;
 4
             f. Whether Defendants violated Labor code section 226.2 by not paying Class
 5
                  members separately for rest and recovery periods with respect to work performed
 6
                  on a piece-rate basis, and by not properly calculating compensation for such rest
 7
                  and recovery periods;
 8
             g. Whether Defendants violated Labor Code Section 226(a) by not providing Class
 9
                  Members with accurate wage statements;
10
             h. Whether Defendants are liable for penalties for failure to maintain the records
11
                  required under Labor Code Sections 226 and 1174;
12
             i. Whether Defendants violated Labor Code Sections 201 or 202 by not paying Class
13
                  Members all wages due upon termination in a timely manner;
14
             j. Whether Class Members who are no longer working for Defendants are entitled to
15
                  waiting time penalties under Labor Code Section 203;
16
             k.   Whether Defendants’ conduct constituted unfair competition or an unlawful
17
                  business practice under Business and Professions Code Section 17200, et seq.
18
             l. Whether injunctive relief is appropriate to ensure Defendants’ compliance with
19
                  the Labor Code with respect to members of the Class currently working for
20
                  Defendants;
21
             m. Whether Class Members are entitled to attorneys’ fees;
22
             n. Whether Class Members are entitled to pre-judgment interest;
23
             o. Whether Class Members are entitled to restitution; and
24
             p. Whether the fact each Class Member might be required to ultimately justify an
25
                  individual claim does or does not preclude maintenance of a class action. See
26
                  Collins v. Rocha (1972) 7 Cal.2d 232.
27

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 1
            50.    Typicality: The claims of Plaintiffs are typical of the claims of all members of the
 2
     Class they seek to represent because all members of the Class sustained injuries and damages arising
 3
     out of Defendants’ policies, practices, and common course of conduct in violation of law, and the
 4
     injuries and damages of all members of the Class were caused by Defendants’ wrongful conduct in
 5
     said violation of law, as alleged herein.
 6
            51.    Adequacy: Plaintiffs Frank J. Fodera, Jr., Genevieve Billson, and Michael M.
 7
     Bonella:
 8
                   a. are adequate representatives of the Class they seek to represent;
 9
                   b. will fairly protect the interests of the members of the Class;
10
                   c. have no interests antagonistic to the members of the Class; and
11
                   d. will vigorously pursue this suit via attorneys who are competent, skilled and
12
                       experienced in litigating matters of this type.
13
                                        FIRST CAUSE OF ACTION
14
                                     For Failure to Pay Minimum Wage
15
                               (Against All Defendants as to Classes A to C)
16
            52.    Plaintiffs incorporate by reference and reallege as if fully stated herein all the
17
     allegations set out above in the preceding paragraphs.
18
            53.    At all relevant times, Plaintiffs and other Class Members were employees covered by
19
     Labor Code section 1194 and the applicable Industrial Wage Order.
20
            54.    Pursuant to Labor Code Section 1194 and the applicable Industrial Wage Order,
21
     Plaintiffs and Class Members were entitled to minimum wage for all hours worked.
22
            55.    Plaintiffs are informed and believe and thereon allege that at all relevant times within
23
     the applicable Class Period, Defendants failed to pay Plaintiffs and Class Members their earned
24
     wages for all hours worked in accordance with Labor Code Section 1194 and the applicable
25
     Industrial Wage Order. For example, Defendants regularly required Plaintiffs and Class Members
26
     to work off the clock.
27

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 1
             56.      As a result of Defendants’ unlawful conduct, Plaintiffs and Class Members have
 2
     suffered damages in an amount, subject to proof, to the extent that they were not paid for all hours
 3
     worked.
 4
             57.      California law does not allow an employer to avoid paying its employees for all hours
 5
     worked by averaging total compensation over total hours worked. See, e.g., Gonzalez v. Downtown
 6
     LA Motors, LP, 215 Cal. App. 4th 36, 40-41 (2013); Armenta v. Osmose, Inc., 135 Cal. App. 4th
 7
     314, 324 (2005).
 8
             58.      Pursuant to Labor Code Section 1194, Plaintiffs and Class Members are entitled to
 9
     recover the full amount of their unpaid wages, prejudgment interest, reasonable attorneys’ fees and
10
     costs of suit.
11
             59.      Pursuant to Labor Code Section 1194.2, Plaintiffs and Class Members are entitled to
12
     recover liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon.
13
                                        SECOND CAUSE OF ACTION
14
                                      For Failure to Pay Overtime Wages
15
                                 (Against All Defendants as to Classes A to C)
16
             60.      Plaintiffs incorporate by reference and reallege as if fully stated herein all the
17
     allegations set out above in the preceding paragraphs.
18
             61.      At all relevant times, Plaintiffs and the other Class Members were employees covered
19
     by Labor Code Sections 510, 1194 and the applicable Industrial Wage Order.
20
             62.      Pursuant to Labor Code Sections 510, 1194 and the applicable Industrial Wage Order,
21
     Plaintiffs and the other Class Members were entitled to overtime wages payable at the rate of at least
22
     one and one-half times their regular rate of pay for all work in excess of eight hours in one workday,
23
     in excess of forty hours in one workweek, or during the first eight hours worked on the seventh day
24
     of one workweek, and payable at the rate of at least twice the regular rate of pay for all work in
25
     excess of twelve hours in one workday or in excess of eight hours worked on the seventh day of one
26
     workweek.
27

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 1
            63.    Defendant failed to pay Plaintiffs and the other Class Members for all overtime
 2
     worked in accordance with Labor Code Sections 510, 1194 and the applicable Industrial Wage
 3
     Order. Plaintiffs are informed and believes and thereon allege that at all relevant times within the
 4
     applicable class period, Defendants maintained and continue to maintain a policy or practice of
 5
     requiring Plaintiffs and other Class Members to perform various duties off the clock without
 6
     compensating them for all their hours actually worked, including time in excess of eight hours in a
 7
     day, in excess of forty hours in a workweek, and/or time worked on the seventh day of work in one
 8
     workweek.
 9
            64.    Plaintiffs are informed and believe and thereon allege that at all relevant times within
10
     the applicable class period, Defendants maintained and continue to maintain a policy or practice of
11
     undercalculating Plaintiffs’ and Class Members’ regular rate of pay, including by failing to include
12
     all earned nondiscretionary bonuses in Plaintiff’s and Class Members’ regular rate of pay.
13
            65.    California law does not allow an employer to avoid paying its employees for all hours
14
     worked by averaging total compensation over total hours worked. See, e.g., Gonzalez v. Downtown
15
     LA Motors, LP, 215 Cal. App. 4th 36, 40-41 (2013); Armenta v. Osmose, Inc., 135 Cal. App. 4th
16
     314, 324 (2005).
17
            66.    As a result of Defendants’ unlawful conduct, Plaintiffs and other Class Members have
18
     suffered damages in an amount, subject to proof, to the extent they were not paid for all overtime
19
     wages earned.
20
            67.    Pursuant to Labor Code Section 1194, Plaintiffs and other Class Members are entitled
21
     to recover the full amount of their unpaid overtime wages, prejudgment interest, reasonable
22
     attorney’s fees and costs of suit.
23
                                          THIRD CAUSE OF ACTION
24
                                     For Failure to Provide Meal Periods
25
                                (Against All Defendants as to Clases A to C)
26
            68.    Plaintiffs incorporate by reference and reallege as if fully stated herein all the
27
     allegations set out above in the preceding paragraphs.
28
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 1
            69.    At all relevant times, Plaintiffs and Class Members were employees covered by Labor
 2
     Code Sections 226.7 and 512, and the applicable Industrial Wage Order.
 3
            70.    Labor Code §§ 226.7 and 512 and the applicable Industrial Wage Order provide that
 4
     no employer shall employ any person for a work period of more than five (5) hours without a meal
 5
     period of not less than 30 minutes.
 6
            71.    Labor Code § 226.7 and the applicable Industrial Wage Order provide that if an
 7
     employer fails to provide an employee with a meal period in accordance with this section, the
 8
     employer shall pay the employee one (1) hour of pay at the employee’s regular rate of compensation
 9
     for each five (5) hours of work that the meal period is not provided.
10
            72.    During the Class Period, Defendants have routinely failed to provide the Class
11
     Members, including Plaintiffs, with compliant meal periods prior to the end of the employees’ fifth
12
     hour of work, and have failed to compensate Class Members, including Plaintiffs, for those non-
13
     compliant meal periods, as required by California Labor Code § 226.7 and other applicable sections
14
     of the Employment Laws and Regulations.
15
            73.    No Class Members, including Plaintiffs, are exempt from the meal period
16
     requirements of the Employment Laws and Regulations.
17
            74.    As a result of Defendants’ unlawful conduct, Plaintiffs and Class Members have
18
     suffered damages in an amount, subject to proof, to the extent they were not paid additional pay for
19
     meal period violations.
20
                                     FOURTH CAUSE OF ACTION
21
                                    For Failure to Provide Rest Periods
22
                               (Against All Defendants as to Classes A to C)
23
            75.    Plaintiffs incorporate by reference and reallege as if fully stated herein all the
24
     allegations set out above in the preceding paragraphs.
25
            76.    At all relevant times, Plaintiffs and Class Members were employees covered by Labor
26
     Code Sections 226.7 and 512, and the applicable Industrial Wage Order.
27

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 1
            77.     Labor Code Sections 226.7 and 512 and the applicable Industrial Wage Order provide
 2
     that employers shall authorize and permit employees to take rest periods at the rate of ten (10)
 3
     minutes net rest time per four (4) hours of work or major fraction thereof.
 4
            78.     Labor Code Section 226.7 and the applicable Industrial Wage Order further provide
 5
     that if an employer fails to provide an employee rest periods in accordance with this law, the
 6
     employer shall pay the employee one (1) hour of pay at the employee’s regular rate of compensation
 7
     for each workday that the rest period is not authorized and permitted.
 8
            79.     During the Class Period, Defendants have routinely failed to authorize and permit the
 9
     Class Members, including Plaintiffs, to take rest periods during their work shifts, and have failed to
10
     compensate Class Members, including Plaintiffs, for those non-compliant rest periods, as required
11
     by California Labor Code Section 226.7 and other applicable sections of the Employment Laws and
12
     Regulations.
13
            80.     No Class Members, including Plaintiffs, are exempt from the rest period requirements
14
     of the Employment Laws and Regulations.
15
            81.     As a result of Defendants’ unlawful conduct, Plaintiffs and Class Members have
16
     suffered damages in an amount, subject to proof, to the extent they were not paid additional pay for
17
     rest period violations.
18
                                        FIFTH CAUSE OF ACTION
19
                               For Failure to Pay for Rest and Recovery Periods
20
                                 (Against All Defendants as to Classes A to C)
21
            82.     Plaintiffs incorporate by reference and reallege as if fully stated herein all the
22
     allegations set out above in the preceding paragraphs.
23
            83.     At all relevant times, Plaintiffs and Class Members were employees covered by Labor
24
     Code Section 226.2 and the applicable Industrial Wage Order.
25
            84.     Labor Code Section 226.2 provides that employees shall be compensated for rest and
26
     recovery periods and other nonproductive time separate from any piece-rate compensation.
27

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 1
             85.      Labor Code Section 226.2 further provides that employees shall be compensated for
 2
     rest and recovery periods at a regular hourly rate that is no less than the higher of: (i) an average
 3
     hourly rate determined by dividing the total compensation for the workweek, exclusive of
 4
     compensation for rest and recovery periods and any premium compensation for overtime, by the
 5
     total hours worked during the workweek, exclusive of rest and recovery periods, or (ii) the applicable
 6
     minimum wage.
 7
             86.      Plaintiffs are informed and believes and thereon allege that at all relevant times within
 8
     the applicable Class Period, Defendants failed to pay Plaintiffs and Class Members for rest and
 9
     recovery periods and other nonproductive time separate from any piece-rate compensation.
10
             87.      Plaintiffs are further informed and believes and thereon allege that at all relevant times
11
     within the applicable Class Period, Defendants failed to properly calculate the regular hourly rate of
12
     compensation for rest and recovery periods and other nonproductive time.
13
             88.      As a result of Defendants’ unlawful conduct, Plaintiffs and Class Members have
14
     suffered damages in an amount, subject to proof, to the extent that they were not paid all
15
     compensation owed for rest and recovery periods and other nonproductive time separate from any
16
     piece-rate compensation
17
             89.      Pursuant to Labor Code Section 1194, Plaintiffs and Class Members are entitled to
18
     recover the full amount of their unpaid wages, prejudgment interest, reasonable attorneys’ fees and
19
     costs of suit.
20
             90.      Pursuant to Labor Code Section 1194.2, Plaintiffs and Class Members are entitled to
21
     recover liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon.
22
                                          SIXTH CAUSE OF ACTION
23
                                 Failure to Furnish Accurate Wage Statements
24
                               (Against All Defendants as to All Class Members)
25
             91.      Plaintiffs incorporate by reference and reallege as if fully stated herein all the
26
     allegations set out above in the preceding paragraphs.
27

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 1
             92.   At all relevant times, Plaintiffs and other Class Members were employees of
 2
     Defendants covered by Labor Code Section 226.
 3
             93.   California Labor Code Section 226(a) provides that:
 4
                   An employer, semimonthly or at the time of each payment of wages,
 5                 shall furnish to his or her employee, either as a detachable part of the
                   check, draft, or voucher paying the employee’s wages, or separately if
 6                 wages are paid by personal check or cash, an accurate itemized
                   statement in writing showing (1) gross wages earned, (2) total hours
 7                 worked by the employee, except as provided in subdivision (j), (3) the
                   number of piece-rate units earned and any applicable piece rate if the
 8                 employee is paid on a piece-rate basis, (4) all deductions, provided that
                   all deductions made on written orders of the employee may be
 9                 aggregated and shown as one item, (5) net wages earned, (6) the
                   inclusive dates of the period for which the employee is paid, (7) the
10                 name of the employee and only the last four digits of his or her social
                   security number or an employee identification number other than a
11                 social security number, (8) the name and address of the legal entity
                   that is the employer and, if the employer is a farm labor contractor, as
12                 defined in subdivision (b) of Section 1682, the name and address of
                   the legal entity that secured the services of the employer, and (9) all
13                 applicable hourly rates in effect during the pay period and the
                   corresponding number of hours worked at each hourly rate by the
14                 employee and, beginning July 1, 2013, if the employer is a temporary
                   services employer as defined in Section 201.3, the rate of pay and the
15                 total hours worked for each temporary services assignment.

16           94.   Further, the relevant wage orders of the Industrial Welfare Commission applicable to
17   Plaintiffs’ and Class Members’ employment with Defendants require employers to maintain
18   accurate information regarding, among other items, “[t]ime records showing when the employee
19   begins and ends each work period. Meal periods, split shift intervals and total daily hours worked
20   shall also be recorded. Meal periods during which operations cease and authorized rest periods need
21   not be recorded.”
22           95.   At all material times set forth herein, Defendants either recklessly or intentionally
23   failed to make, keep and preserve true, accurate records of, among other things, the actual number
24   of hours worked each workday and workweek by Plaintiffs and Class Members, when Plaintiffs and
25   Class Members took required meal and rest periods, meal and rest period premiums that were owed
26   to Plaintiffs and Class Members, and the number of piece-rate units earned and any applicable piece
27   rate.
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 1
            96.    At all material times set forth herein, with respect to all Class Members, Defendants
 2
     either recklessly or intentionally failed to provide accurate itemized wage statements in that the
 3
     wage statements issued by Defendants to the Class Members fail to accurately reflect the total hours
 4
     worked and all applicable hourly rates and the corresponding number of hours worked at each hourly
 5
     rate for each work week a Class member both worked overtime and earned non-discretionary, non-
 6
     hourly pay such as piece rate, commissions, or bonuses. In particular, because certain wage
 7
     statements have two separate line items each stating the overtime hours worked as well as breaking
 8
     down the applicable overtime rate into two separate line items, the wage statements do not accurately
 9
     reflect the total hours worked since they double count any overtime hours, and they do not accurately
10
     state the applicable overtime rate(s). Defendants’ wage statements also include “hours worked”
11
     attributable to payment of meal and rest period premium wages, as well as “hours worked”
12
     attributable to canceled sessions or sessions for which the client did not show up, in the calculation
13
     of the total hours worked in a pay period even though even though Class Members are not actually
14
     working or on the clock with respect to such time, and the wage statements accordingly do not
15
     accurately reflect the actual total hours worked by the Class Members. These violations are both
16
     derivative of the claims of Classes A to C as well as “stand alone” violations evident on the face of
17
     the wage statements as to all Class Members.
18
            97.    As a result of Defendants’ unlawful conduct, Plaintiffs and Class Members have
19
     suffered actual injury within the meaning of California Labor Code section 226(e) and are each
20
     entitled to recover from Defendants the greater of their actual monetary damages caused by
21
     Defendants’ failure to comply with California Labor Code section 226(a), or an aggregate penalty
22
     not exceeding four thousand dollars ($4,000) per employee, at a rate of $50 per pay period with
23
     incomplete or inaccurate wage statement, and an award of costs and reasonable attorneys’ fees
24
     pursuant to California Labor Code section 226(e).
25

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 1
                                     SEVENTH CAUSE OF ACTION
 2
         Failure to Pay Wages Earned At Termination Or Discharge [Labor Code §§ 201, 202]
 3
                               (Against All Defendants as to Classes A to C)
 4
             98.    Plaintiffs incorporate by reference and reallege as if fully stated herein all the
 5
     allegations set out above in the preceding paragraphs.
 6
             99.    At all relevant times, Bonella and Class Members who quit, were discharged, or
 7
     terminated (collectively referred to as “Terminated” or “Termination”) from employment with
 8
     Defendants are and were covered by Labor Code sections 201 and/or 202.
 9
             100. Pursuant to Labor Code sections 201 and 202, Bonella and Class Members were
10
     entitled to receive, upon termination, all wages earned and unpaid at the time of termination. If an
11
     employee is discharged, all wages earned and unpaid are due and payable immediately upon
12
     discharge. If an employee quits his or her employment, his or her wages shall become due and
13
     payable not later than 72 hours thereafter, unless the employee has given 72 hours previous notice
14
     of his or her intention to quit, in which case the employee is entitled to his or her wages at the time
15
     of quitting.
16
             101. Defendants failed to pay Bonella and other Terminated Class Members all wages
17
     earned and unpaid at the time of Termination timely in accordance with Labor Code sections 201
18
     and 202. Their earned and unpaid wages at the time of Termination include, but are not limited to,
19
     hours worked off the clock, hours worked overtime, additional pay for missed or non-compliant
20
     meal and rest periods, unpaid piece-rate compensation due, unpaid compensation for rest and
21
     recovery periods and other nonproductive time separate from any piece-rate compensation due
22
     Terminated Class Members, and unpaid bonuses.
23
             102. Defendants’ failure to pay Bonella and other Terminated Class Members all wages
24
     earned prior to Termination in accordance with Labor Code sections 201 and 202 was willful.
25
     Defendants had the ability to pay all wages earned by employees prior to termination in accordance
26
     with Labor Code sections 201 and 202, but intentionally followed a practice or adopted a policy that
27
     violated Labor Code sections 201 and 202.
28
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 1
             103. Pursuant to Labor Code sections 201 and 202, Bonella and other Terminated Class
 2
     Members are entitled to all wages earned prior to Termination that Defendants failed to pay them.
 3
             104. California Labor Code section 203 provides that if an employer willfully fails to pay,
 4
     without abatement or reduction, in accordance with Labor Code sections 201 and 202, any wages
 5
     of the employee shall continue as a penalty from the due date thereof at the same rate until paid or
 6
     until an action therefore is commenced; but the wages shall not continue for more than 30 days.
 7
             105. Therefore, Bonella and other Terminated Class Members are entitled to recover from
 8
     Defendants the statutory penalty for each day they were not paid, at their regular rate of pay – not
 9
     to exceed 30 days – pursuant to California Labor Code section 203.
10
             106. Pursuant to Labor Code sections 218 and 218.5, Bonella and other Terminated Class
11
     Members are entitled to recover their unpaid wages, waiting time penalties under Labor Code
12
     section 203, reasonable attorneys’ fees and costs of suit. Pursuant to Labor Code section 218.6
13
     and/or Civil Code section 3287(a), Terminated Class Members are entitled to recover prejudgment
14
     interest.
15
                                      EIGHTH CAUSE OF ACTION
16
                         Unfair Competition [Bus. & Prof. Code §§ 17200, et seq.]
17
                               (Against All Defendants as to Classes A to C)
18
             107. Plaintiffs incorporate by reference and reallege as if fully stated herein all the
19
     allegations set out above in the preceding paragraphs.
20
             108. Defendants are “persons” as that term is defined under Business & Professions Code
21
     section 17021. Business & Professions Code section 17200 defines unfair competition as any
22
     unlawful, unfair, or fraudulent business act or practice.
23
             109. Defendants’ violation of the Employment Laws and Regulations as alleged in this
24
     Complaint, including Defendants’ (a) failure to provide complaint meal periods or authorize and
25
     permit compliant rest periods; and (b) failure to pay all earned wages upon termination, constitute
26
     unfair business practices in violation of Business & Professions Code §§ 17200 et seq.
27

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 1
               110. As a result of Defendants’ unfair business practices, Defendants have reaped unfair
 2
     benefits and illegal profits at the expense of Class Members, and to the detriment of members of the
 3
     public. Defendants should be made to disgorge their ill-gotten gains and restore them to Plaintiffs
 4
     and other Class Members. Pursuant to Business & Professions Code section 17203, Plaintiffs and
 5
     other Class Members are entitled to restitution of the wages and other monies withheld, deducted,
 6
     and/or retained by Defendants during a period that commences four years prior to the filing of this
 7
     action.
 8
               111. Pursuant to Business & Professions Code section 17203, Defendants’ unfair business
 9
     practices entitle Plaintiffs to seek preliminary and permanent injunctive relief including, but not
10
     limited to, orders that Defendants account for, disgorge, and restore to Plaintiffs and other Class
11
     Members all compensation unlawfully withheld from them.
12
               112. Plaintiffs and other Class Members are entitled to recover reasonable attorneys’ fees
13
     in connection with their unfair competition claims pursuant to Code of Civil Procedure section
14
     1021.5, the substantial benefit doctrine, and/or the common fund doctrine.
15

16                                         PRAYER FOR RELIEF

17         WHEREFORE, Plaintiffs, individually and on behalf of all Class Members, prays for

18   judgment in his favor and against Defendants as follows:

19         a.)       CLASS CERTIFICATION

20                   i.     An order that the action be certified as a class action;

21                   ii.    An order that Plaintiffs be certified as the representatives of the Class;

22                   iii.   An order that counsel for Plaintiffs be confirmed as Class Counsel;

23         b)        ON THE FIRST CAUSE OF ACTION

24                   i.     Damages for unpaid minimum wages according to proof;

25                   ii.    Liquidated damages;

26                   iii.   Prejudgment interest;

27                   iv.    Reasonable attorney’s fees;

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 1
             v.     Costs of suit;
 2
             vi.    Such other relief as the Court deems just and proper;
 3
       d)    ON THE SECOND CAUSE OF ACTION
 4
             i.     Damages for unpaid overtime wages according to proof;
 5
             ii.    Prejudgment interest;
 6
             iii.   Reasonable attorneys’ fees;
 7
             iv.    Costs of suit; and
 8
             v.     Such other relief as the Court deems just and proper;
 9
       e)    ON THE THIRD CAUSE OF ACTION
10
             i.     Damages for unpaid additional pay owed for missed or noncompliant meal
11
                    periods in an amount according to proof;
12
             ii.    Prejudgment interest;
13
             iii.   Costs of suit; and
14
             iv.    Such other relief as the Court deems just and proper;
15
        f)   ON THE FOURTH CAUSE OF ACTION
16
             i.     Damages for unpaid additional pay owed for missed or noncompliant rest
17
                    periods in an amount according to proof;
18
             ii.    Prejudgment interest;
19
             iii.   Costs of suit; and
20
             iv.    Such other relief as the Court deems just and proper;
21
        g)   ON THE FIFTH CAUSE OF ACTION
22
             i.     Damages for unpaid compensation owed for rest and recovery periods and
23
                    other nonproductive time pursuant to Labor Code Section 226.2;
24
             ii.    Liquidated damages;
25
             iii.   Prejudgment interest;
26
             iv.    Reasonable attorney’s fees;
27
             v.     Costs of suit;
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 1
             vi.    Such other relief as the Court deems just and proper;
 2
        h)   ON THE SIXTH CAUSE OF ACTION
 3
             i.     Damages or penalties for not providing accurate wage statements in an
 4
                    amount according to proof;
 5
             ii.    An order requiring Defendants to comply with Labor Code Section 226(a);
 6
             iii.   Reasonable attorney’s fees;
 7
             iv.    Costs of suit; and
 8
             v.     Such other relief as the Court deems just and proper.
 9
        i)   ON THE SEVENTH CAUSE OF ACTION
10
             i.     Damages for unpaid wages earned prior to termination of employment in an
11
                    amount according to proof;
12
             ii.    Waiting time penalties for failing to pay all earned wages timely upon
13
                    termination of employment in an amount according to proof;
14
             iii.   Prejudgment interest;
15
             iv.    Reasonable attorney’s fees;
16
             v.     Costs of suit; and
17
             vi.    Such other relief as the Court deems just and proper.
18
        k)   ON THE EIGHTH CAUSE OF ACTION
19
             i.     Restitution of all unpaid wages and other monies owed and belonging to
20
                    Class Members that Defendants unlawfully withheld from them and retained
21
                    for themselves in an amount according to proof;
22
             ii.    Prejudgment interest;
23
             iii.   Reasonable attorney’s fees;
24
             iv.    Costs of suit; and
25

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 1
                 v.      Such other relief as the Court deems just and proper.
 2

 3

 4   Dated: July 12, 2021                              MAKAREM & ASSOCIATES, APLC

 5

 6
                                                        By: /s/ Samuel D. Almon
 7                                                        SAMUEL D. ALMON
                                                          Attorneys for Plaintiffs FRANK J.
 8                                                        FODERA, JR., GENEVIEVE BILLSON,
                                                          and MICHAEL M.
 9                                                        BONELLA, individually and on behalf of
                                                          all others similarly situated
10

11

12
                                     DEMAND FOR JURY TRIAL
13
          Plaintiffs hereby demand trial by jury of all causes of action.
14

15
     Dated: July 12, 2021                              MAKAREM & ASSOCIATES, APLC
16

17

18
                                                        By: /s/ Samuel D. Almon
19                                                         SAMUEL D. ALMON
                                                           Attorneys for Plaintiffs FRANK J.
20                                                         FODERA, JR. GENEVIEVE BILLSON,
                                                        and MICHAEL M.
21                                                         BONELLA, individually and on behalf of
                                                           all others similarly situated
22

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